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              EXHIBIT 1
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  From: admin admin@DOGE.eop.gov
Subject: American Oversight - USDS Records Requests
   Date: March 12, 2025 at 3:55 PM
     To: Elizabeth.haddix@americanoversight.org, foia@americanoversight.org


        EXTERNAL SENDER

       Dear Ms. Lewis and Ms. Haddix:

       We are writing in reference to your Freedom of Information Act (FOIA) requests--the first
       of which was submitted on January 30, 2025, and multiple others on February 3, 2025--
       which were submitted on behalf of American Oversight in Washington, D.C., to the United
       States DOGE Service (USDS). The FOIA requests seek information from the USDS.

       As set forth in Executive Order 14158, Establishing and Implementing the President’s
       “Department of Government Efficiency,” USDS sits within the Executive Office of the
       President, and the USDS Administrator reports to the President’s Chief of Staff. We write
       now to inform you that USDS is subject to the Presidential Records Act, 44 U.S.C.S. § 2201
       et seq., and is not subject to FOIA. We therefore decline your request.
